 Case 2:21-cv-01043-EP-MAH Document 1 Filed 01/22/21 Page 1 of 23 PageID: 1




                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


  LEAH MITELBERG, on behalf of herself and             Civil Action No.
  all others similarly situated,

                             Plaintiff,                CLASS ACTION COMPLAINT
                                                       AND DEMAND FOR JURY
            v.
                                                       TRIAL
  STEVENS INSTITUTE OF TECHNOLOGY,

                              Defendant.


       Plaintiff Leah Mitelberg (“Plaintiff”) brings this action on behalf of herself and all others

similarly situated against Defendant Stevens Institute of Technology (“Stevens” or “Defendant”).

Plaintiff makes the following allegations pursuant to the investigation of counsel and based upon

information and belief, except as to the allegations specifically pertaining to herself, which are

based on personal knowledge.

         NATURE OF THE ACTION AND FACTS COMMON TO ALL CLAIMS

       1.        This is a class action lawsuit on behalf of all people who paid tuition and fees for

the Spring 2020 academic semester at Stevens, and who, because of Defendant’s response to the

Novel Coronavirus Disease 2019 (“COVID-19”) pandemic, lost the benefit of the education for

which they paid, and/or the services for which their fees paid, without having their tuition and

fees refunded to them.

       2.        Stevens is one of this country’s oldest technological universities with an

enrollment of over 6,000 students. Stevens’s campus is located in Hoboken, New Jersey, and is

comprised of four academic schools: the Charles V. Schaefer, Jr. School of Engineering and

Science, the School of Systems and Enterprises, the School of Business and the College of Arts

and Letters. Stevens offers roughly 29 undergraduate majors as well as 22 Ph.D. programs, 43
 Case 2:21-cv-01043-EP-MAH Document 1 Filed 01/22/21 Page 2 of 23 PageID: 2




master’s programs, and 122 certificate programs.

       3.      Plaintiff and Class Members entered into a contractual agreement with Stevens

where Plaintiff would provide payment in the form of tuition and fees, and Defendant, in

exchange, would provide in-person educational services, experiences, opportunities, and other

related services to Plaintiff and Class Members. The terms of the contractual agreement were set

forth in publications from Stevens Institute of Technology, including Stevens Institute of

Technology’s Spring Semester 2020 Course Catalog.

       4.      When Plaintiff and Class Members sought to enter into a contractual agreement

with Defendant for the provision of educational services for the Spring Semester 2020, Plaintiff

and Class Members viewed the Course Catalog to make specific course selections prior to

registering and paying for selected courses.

       5.      The Course Catalog provided Plaintiff and Class Members with information

regarding the courses offered, the instructor, the days and times during which the courses would

be held, and the location (including the building and room number) in which courses would be

held. An exemplar of the Spring Semester 2020 Course Catalog is pasted below:




                                                2
    Case 2:21-cv-01043-EP-MAH Document 1 Filed 01/22/21 Page 3 of 23 PageID: 3




           6.       Stevens also provided Plaintiff and Class with the Stevens Course Scheduler

(“Course Scheduler”) that shows the dates, times, and location of the classes that they wish to

sign up for.1 None of the courses that Plaintiff signed up for were online, as shown below:




1
    https://web.stevens.edu/scheduler/#


                                                    3
    Case 2:21-cv-01043-EP-MAH Document 1 Filed 01/22/21 Page 4 of 23 PageID: 4




          7.   Other publications from Stevens reference the in-person nature of the Spring

Semester 2020 course offerings, including course-specific syllabi and the University’s Academic

Policies,2 which detail the policies, procedures, and expectations of Stevens Institute of

Technology students. The Academic Policies describe the rules regarding classroom absences.

Students are informed that they “are expected to attend all classes in which they are enrolled.”

See id.

          8.   The Academic Policies also encouraged on-campus activities by previously

discouraging undergraduate students from taking online courses. Undergraduate students were

generally limited to “two online web courses per semester.” See id. If an undergraduate student

wanted to sign up for any online classes, they needed the permission of his or her advisor. To

take more than two online courses required a GPA of 3.2 or higher and the permission of the

Office of the Dean of Undergraduate Academics. See id. This policy created an expectation that

any in-person class that a student signed up for would not move online.




2
 https://www.stevens.edu/about-stevens/university-policy-library/undergraduate-
academics/undergraduate-academics-policies-and-procedures/policies-through-d


                                                 4
    Case 2:21-cv-01043-EP-MAH Document 1 Filed 01/22/21 Page 5 of 23 PageID: 5




        9.     Additionally, Stevens provides its faculty with a “Faculty Handbook,”3 which sets

forth many of the policies and procedures regarding faculty, including their teaching obligations

to students. One such obligation, of which students are the intended beneficiaries, is that

“[f]aculty must be present to meet all assigned classes at the place and hour scheduled.” The

handbook also states that the number of class meetings per session “may not be varied by

individual teachers.” Id. at 2.

        10.    Stevens’ Spring Semester 2020 commenced on or around January 21, 2020, and

was scheduled to conclude on or around May 18, 2020. Plaintiff and Class Members’ payment

of tuition and fees were intended to cover in-person education, experiences, and services for the

entirety of the Spring Semester 2020.

        11.    On March 9, 2020, Stevens announced via letter from Marybeth Murphy (Vice

President for Enrollment Management and Student Affairs) and Warren Petty (Vice President for

Human Resources) that Stevens was working to transition all classes to online format as quickly

as possible.4 On March 12, 2020, Stevens announced via letter from Christophe Pierre (Provost)

that classes would continue to be taught completely online until at least April 5. Id. Finally, on

March 17, 2020, Mr. Pierre announced that classes would continue in online format through the

end of the Spring 2020 Semester. Id.

        12.    Thus, Stevens did not hold any in-person classes from March 11, 2020 through

the end of the Spring Semester 2020. Classes that continued were only been offered in an online

format, with no in-person instruction.

        13.    As a result of the closure of Defendant’s facilities, Defendant did not deliver the



3
 https://www.stevens.edu/sites/stevens_edu/files/fac-hdbk_section_3_111715.pdf
4
 https://www.stevens.edu/directory/student-health-services/health-advisory-update/coronavirus-
2019-covid-19-information/advisories-updates/march-2020#031020


                                                 5
 Case 2:21-cv-01043-EP-MAH Document 1 Filed 01/22/21 Page 6 of 23 PageID: 6




educational services, facilities, access and/or opportunities that Plaintiff and the putative class

contracted and paid for. The online learning options provided to Stevens students were subpar in

practically every aspect, from the lack of facilities, materials, and access to faculty. Students

were deprived of the opportunity for collaborative learning and in-person dialogue, feedback,

and critique. The remote learning options were in no way the equivalent of the in-person

education that Plaintiff and the putative class members contracted and paid for.

       14.     Stevens did not provide in-person education, experiences, or related services for

approximately 50% of the Spring Semester 2020.

       15.     Nonetheless, Stevens has not refunded any tuition or fees for the Spring 2020

Semester.

       16.     Plaintiff and the putative class did not enter into an agreement with Stevens for

online education, but rather sought to receive an in-person education from Stevens. Plaintiff and

the putative class are therefore entitled to a refund of tuition and fees for in-person educational

services, facilities, access and/or opportunities that Defendant has not provided. Even if

Defendant did not have a choice in cancelling in-person classes, it nevertheless has improperly

retained funds for services it did not provide.

       17.     Plaintiff seeks, for herself and Class members, Defendant’s disgorgement of the

pro-rated portion of tuition and fees, proportionate to the amount of time that remained in the

Spring Semester 2020 when classes moved online and campus services ceased being provided.

Plaintiff seeks a return of these amounts on behalf of herself and the Class as defined below.

                                             PARTIES

       18.     Plaintiff Leah Mitelberg is a citizen of New Jersey who resides in Fort Lee, New

Jersey. Ms. Mitelberg is an undergraduate student at Stevens. Ms. Mitelberg paid Defendant




                                                  6
 Case 2:21-cv-01043-EP-MAH Document 1 Filed 01/22/21 Page 7 of 23 PageID: 7




approximately $31,671 in tuition and fees for Spring Semester 2020. Ms. Mitelberg is pursuing

a degree in Cyber Security at Stevens. The Cyber Security program at Stevens relies extensively

on in-person instruction, laboratory access, meaningful student presentations, peer collaboration,

and access to other university facilities. None of these resources are available to Ms. Mitelberg

while in-person classes are suspended. Ms. Mitelberg did not sign up for any online courses.

Although Stevens has provided a partial refund of housing costs, Stevens has not provided Ms.

Mitelberg any refund of tuition or other mandatory fees, despite the fact that in-person classes

have not been held since March 11, 2020. The fees Plaintiff paid for include a $710 General

Services Fee and a $230 Student Activity Fee.

          19.   Prior to beginning the Spring 2020 semester, and prior to paying tuition and fees,

Plaintiff consulted the Course Catalog and Course Scheduler and enrolled in courses for the

Spring 2020 semester. In consulting the Course Catalog and Course Scheduler, Plaintiff

understood and believed that every course in which she enrolled was to be taught in-person.

Plaintiff’s understanding and belief was based on the course specifying an on-campus location

where the course would be taught. Thus, the in-person nature of the courses was part of the

benefit of the bargain, and Plaintiff would not have paid as much, if any, tuition and fees for the

Spring 2020 semester at Stevens had she known that the courses would not, in fact, be taught in-

person.

          20.   Indeed Plaintiff’s Spring 2020 semester schedule, as seen on her student schedule,

shows that each and every class in which she enrolled was to be taught in-person, in the

designated campus buildings:




                                                 7
 Case 2:21-cv-01043-EP-MAH Document 1 Filed 01/22/21 Page 8 of 23 PageID: 8




       21.     Defendant Stevens Institute of Technology is a private research university with its

principal place of business at 1 Castle Point Terrace, Hoboken, NJ 07030.

                                JURISDICTION AND VENUE

       22.     The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(d)(2)(A),

as modified by the Class Action Fairness Act of 2005, because at least one member of the Class,

as defined below, is a citizen of a different state than Defendant, there are more than 100

members of the Class, and the aggregate amount in controversy exceeds $5,000,000 exclusive of

interest and costs.




                                                 8
 Case 2:21-cv-01043-EP-MAH Document 1 Filed 01/22/21 Page 9 of 23 PageID: 9




        23.     This Court has personal jurisdiction over Defendant because it is headquartered in

this District, many of the acts and transactions giving rise to this action occurred in this District.

        24.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because Defendant’s

principal place of business is located in this District, Plaintiff is a resident of this District, and

many of the acts and transactions giving rise to this action occurred in this District. Specifically,

the contract that is the subject of this action was formed in this District.

                                    FACTUAL ALLEGATIONS

Plaintiff And Class Members Paid Tuition And Fees For Spring Semester 2020

        25.     Plaintiff and Class members are individuals who paid the cost of tuition and other

mandatory fees for the Spring 2020 Semester at Stevens.

        26.     Spring Semester 2020 classes at Stevens began on or about January 21, 2020.

Classes and final exams for the semester are scheduled for end on or around May 18, 2020.

        27.     Plaintiff and Class members paid the cost of tuition for the Spring Semester 2020.

They also paid other mandatory fees associated with the Spring Semester 2020, including but not

limited to a General Service Fee and a Student Activity Fee.

        28.     Undergraduate tuition for the Spring 2020 semester at Stevens is approximately

$26,067. Mandatory undergraduate fees include a $710 per semester General Service Fee and a

$230 per semester Student Activity Fee.

        29.     Graduate tuition for the Spring 2020 semester at Stevens is approximately

$18,340. Mandatory graduate fees include a General Service Fee which ranges from $306 to

$485 per semester, as well as a $170 per semester Student Activity Fee.

        30.     The tuition and fees described in the paragraph above is provided by way of

example; total damage amounts – which may include other fees that are not listed herein but that




                                                    9
Case 2:21-cv-01043-EP-MAH Document 1 Filed 01/22/21 Page 10 of 23 PageID: 10




were not refunded – will be proven at trial.

In Response To COVID-19, Stevens Closed Campuses And Cancelled All In-Person Classes

         31.     On March 12, 2020, Stevens announced that because of the global COVID-19

classes would be held only in online format until at least April 5, 2020. On March 17, 2020,

Stevens announced that all classes would continue in online format through the end of the Spring

2020 semester.

         32.     From March 11, 2020 through the end of the Spring Semester 2020, Stevens did

not hold any in-person classes. Classes that continued were only offered in an online format,

with no in-person instruction. Even classes for students with concentrations in areas where in-

person instruction is especially crucial (such as music, engineering, and the sciences) only had

access to minimum online education options.

         33.     As a result of the closure of Defendant’s facilities, Defendant did not deliver the

educational services, facilities, access and/or opportunities that Plaintiff and the putative class

contracted and paid for. Plaintiff and the putative class are therefore entitled to a refund of all

tuition and fees for services, facilities, access and/or opportunities that Defendant has not

provided. Even if Defendant did not have a choice in cancelling in-person classes, it

nevertheless has improperly retained funds for services it is not providing.

         34.     Plaintiff and members of the Class did not choose to attend an online institution of

higher learning, but instead chose to attend Defendant’s institution and enroll on an in-person

basis.

         35.     Defendant markets the Stevens on-campus experience as a benefit of enrollment

on Stevens’s website:




                                                  10
Case 2:21-cv-01043-EP-MAH Document 1 Filed 01/22/21 Page 11 of 23 PageID: 11




       36.     Defendant offered Plaintiff and putative class members courses in specific

classrooms through a course catalog which Plaintiff and putative class members accepted. At no

point did Defendant disclaim that the in-person classroom instruction could be replaced with

online learning.

       37.     The online learning options being offered to Stevens students are subpar in

practically every aspect and a shadow of what they once were, from the lack of facilities,

materials, and access to faculty. Students have been deprived of the opportunity for

collaborative learning and in-person dialogue, feedback, and critique.

       38.     The remote learning options are in no way the equivalent of the in-person

education putative class members contracted and paid for—especially given that the majority of

Stevens’ degree programs require significant laboratory time and face to face guidance. The

remote education being provided is not even remotely worth the amount charged class members

for Spring Semester 2020 tuition. The tuition and fees for in-person instruction at Stevens are

higher than tuition and fees for other online institutions because such costs cover not just the

academic instruction, but encompass an entirely different experience which includes but is not

limited to:

                    •   Face to face interaction with professors, mentors, and peers;



                                                 11
Case 2:21-cv-01043-EP-MAH Document 1 Filed 01/22/21 Page 12 of 23 PageID: 12




                    •   Access to facilities such as libraries, laboratories, computer labs, and
                        study rooms;

                    •   Student governance and student unions;

                    •   Extra-curricular activities, groups, intramural sports, etc.;

                    •   Student art, cultures, and other activities;

                    •   Social development and independence;

                    •   Hands on learning and experimentation;

                    •   Networking and mentorship opportunities.

       39.     Through this lawsuit Plaintiff seeks, for himself and Class members, Defendant’s

disgorgement of the pro-rated portion of tuition and fees, proportionate to the amount of time

that remained in the Spring Semester 2020 when classes moved online and campus services

ceased being provided. Plaintiff seeks return of these amounts on behalf of herself and the Class

as defined below.

                                         CLASS ALLEGATIONS

       40.     Plaintiff seeks to represent a class defined as all people who paid Stevens Spring

Semester 2020 tuition and/or fees for in-person educational services that Stevens failed to

provide, and whose tuition and fees have not been refunded (the “Class”). Specifically excluded

from the Class are Defendant, Defendant’s officers, directors, agents, trustees, parents, children,

corporations, trusts, representatives, employees, principals, servants, partners, joint ventures, or

entities controlled by Defendant, and their heirs, successors, assigns, or other persons or entities

related to or affiliated with Defendant and/or Defendant’s officers and/or directors, the judge

assigned to this action, and any member of the judge’s immediate family.

       41.     Plaintiff also seeks to represent a subclass consisting of Class members who

reside in New Jersey (the “Subclass”).


                                                  12
Case 2:21-cv-01043-EP-MAH Document 1 Filed 01/22/21 Page 13 of 23 PageID: 13




       42.         Subject to additional information obtained through further investigation and

discovery, the foregoing definition of the Class and Subclass may be expanded or narrowed by

amendment or amended complaint.

       43.         Numerosity. The members of the Class and Subclass are geographically

dispersed throughout the United States and are so numerous that individual joinder is

impracticable. Upon information and belief, Plaintiff reasonably estimate that there are tens of

thousands of members in the Class and Subclass. Although the precise number of Class

members is unknown to Plaintiff, the true number of Class members is known by Defendant and

may be determined through discovery. Class members may be notified of the pendency of this

action by mail and/or publication through the distribution records of Defendant and third-party

retailers and vendors.

       44.         Existence and predominance of common questions of law and fact. Common

questions of law and fact exist as to all members of the Class and Subclass and predominate over

any questions affecting only individual Class members. These common legal and factual

questions include, but are not limited to, the following:

             (a)      whether Defendant accepted money from Class and Subclass members in

                      exchange for the promise to provide services;

             (b)      whether Defendant has provided the services for which Class and Subclass

                      members contracted; and

             (c)      whether Class and Subclass members are entitled to a refund for that portion

                      of the tuition and fees that was contracted for services that Defendant did not

                      provide.

             (d)      whether Defendant has unlawfully converted money from Plaintiff, the Class




                                                   13
Case 2:21-cv-01043-EP-MAH Document 1 Filed 01/22/21 Page 14 of 23 PageID: 14




                      and Subclass; and

             (e)      whether Defendant is liable to Plaintiff, the Class, and Subclass for unjust

                      enrichment.

       45.         Typicality. Plaintiff’s claims are typical of the claims of the other members of

the Class in that, among other things, all Class and Subclass members were similarly situated and

were comparably injured through Defendant’s wrongful conduct as set forth herein. Further,

there are no defenses available to Defendants that are unique to Plaintiff.

       46.         Adequacy of Representation. Plaintiff will fairly and adequately protect the

interests of the Class and Subclass. Plaintiff has retained counsel that is highly experienced in

complex consumer class action litigation, and Plaintiff intends to vigorously prosecute this action

on behalf of the Class and Subclass. Furthermore, Plaintiff has no interests that are antagonistic

to those of the Class or Subclass.

       47.         Superiority. A class action is superior to all other available means for the fair

and efficient adjudication of this controversy. The damages or other financial detriment suffered

by individual Class and Subclass members are relatively small compared to the burden and

expense of individual litigation of their claims against Defendant. It would, thus, be virtually

impossible for the Class or Subclass on an individual basis, to obtain effective redress for the

wrongs committed against them. Furthermore, even if Class or Subclass members could afford

such individualized litigation, the court system could not. Individualized litigation would create

the danger of inconsistent or contradictory judgments arising from the same set of facts.

Individualized litigation would also increase the delay and expense to all parties and the court

system from the issues raised by this action. By contrast, the class action device provides the

benefits of adjudication of these issues in a single proceeding, economies of scale, and




                                                    14
Case 2:21-cv-01043-EP-MAH Document 1 Filed 01/22/21 Page 15 of 23 PageID: 15




comprehensive supervision by a single court, and presents no unusual management difficulties

under the circumstances.

       48.         In the alternative, the Class and Subclass may also be certified because:

             (a)      the prosecution of separate actions by individual Class and Subclass members

                      would create a risk of inconsistent or varying adjudications with respect to

                      individual Class members that would establish incompatible standards of

                      conduct for the Defendant;

             (b)      the prosecution of separate actions by individual Class and Subclass members

                      would create a risk of adjudications with respect to them that would, as a

                      practical matter, be dispositive of the interests of other Class members not

                      parties to the adjudications, or substantially impair or impede their ability to

                      protect their interests; and/or

             (c)      Defendant has acted or refused to act on grounds generally applicable to the

                      Class as a whole, thereby making appropriate final declaratory and/or

                      injunctive relief with respect to the members of the Class as a whole.

                                              COUNT I
                                        Breach Of Contract
                                (On Behalf Of The Class And Subclass)

       49.         Plaintiff hereby incorporates by reference the allegations contained in all

preceding paragraphs of this complaint.

       50.         Plaintiff brings this claim individually and on behalf of the members of the Class

and Subclass against Defendants.

       51.         Plaintiff and Defendant entered into a contractual relationship where Plaintiff

would provide payment in the form of tuition and fees, and Defendant, in exchange, would




                                                    15
Case 2:21-cv-01043-EP-MAH Document 1 Filed 01/22/21 Page 16 of 23 PageID: 16




provide in-person educational services, experiences, opportunities, and other related services.

The terms of the parties’ contractual relationship are set forth in publications from Stevens

Institute of Technology, including the Spring Semester 2020 Course Catalog and Course

Scheduler.

       52.     The Course Catalog and Course Scheduler provided Plaintiff and Class Members

with information regarding the courses offered, the instructor, the days and times during which

the courses would be held, and the location (including the building and room number) in which

the courses would be held.

       53.     Other publications from Stevens reference the in-person nature of the Spring

Semester 2020 course offerings, including course specific syllabi and the University’s Academic

Policies,5 which detail the policies, procedures, and expectations of Stevens Institute of

Technology students. The Academic Policies describe the rules regarding classroom absences.

Students are informed that they “are expected to attend all classes in which they are enrolled.”

Id.

       54.     The Academic Policies also encouraged on-campus activities by limiting

Undergraduate students to “two online web courses per semester.” See id. In fact, if an

undergraduate student wanted to sign up for any online classes, they needed the permission of

their advisor. To take more than two online courses required a GPA of 3.2 or higher and the

permission of the Office of the Dean of Undergraduate Academics. Id. This policy created an

expectation that any in-person class that a student signed up for, would not move online.

       55.     Additionally, Stevens provides its faculty with a “Faculty Handbook,”6 which



5
  https://www.stevens.edu/about-stevens/university-policy-library/undergraduate-
academics/undergraduate-academics-policies-and-procedures/policies-through-d
6
  https://www.stevens.edu/sites/stevens_edu/files/fac-hdbk_section_3_111715.pdf


                                                 16
Case 2:21-cv-01043-EP-MAH Document 1 Filed 01/22/21 Page 17 of 23 PageID: 17




provides many of the policies and procedures regarding faculty, including their teaching

obligations to students. One such obligation, of which students are the intended beneficiaries, is

that “Faculty must be present to meet all assigned classes at the place and hour scheduled.” The

handbook also states that the number of class meetings per session “may not be varied by

individual teachers.” Id. at 2

       56.     Through the admission agreement and payment of tuition and fees, Plaintiff and

each member of the Class and Subclass entered into a binding contract with Defendant.

       57.     As part of the contract, and in exchange for the aforementioned consideration,

Defendant promised to provide certain services, all as set forth above. Plaintiff, Class, and

Subclass members fulfilled their end of the bargain when they paid monies due for Spring

Semester 2020 tuition. Tuition for Spring Semester 2020 was intended to cover in-person

educational services from January through May 2020. In exchange for tuition monies paid, Class

and Subclass members were entitled to in-person educational services through the end of the

Spring Semester.

       58.     Defendant materially breached the parties’ contractual agreement by failing to

provide in-person education services for the entirely of the Spring Semester 2020. The

provisions of the contract breached by Defendant include, but are not limited to, the provision

setting forth the details of in-person educational services as described in the Spring Semester

2020 Course Catalog and Course Scheduler. The Spring Semester 2020 Course Catalog and

Course Scheduler indicated classes would be administered in an in-person, on-campus setting.

The Course Catalog and Course Scheduler did not make any reference to the administration of

these courses in an online format.

       59.     Defendant also materially breached the parties’ contractual agreement by




                                                17
Case 2:21-cv-01043-EP-MAH Document 1 Filed 01/22/21 Page 18 of 23 PageID: 18




retaining various mandatory and optional fees, including, but not limited to, the Student Activity

Fee and the General Service Fee, which are used to support on-campus services and facilities.

       60.      Defendant has failed to provide the contracted for services and has otherwise not

performed under the contract as set forth above by failing to provide in-person educational

services from March 11, 2020 through the end of the Spring 2020 semester. Defendant has

retained monies paid by Plaintiff and the Class for their Spring Semester 2020 tuition and fees,

without providing them the benefit of their bargain.

       61.      Plaintiff and members of the Class and Subclass have suffered damage as a direct

and proximate result of Defendant’s breach, including but not limited to being deprived of the

education, experience, and services to which they were promised and for which they have

already paid.

       62.      As a direct and proximate result of Defendant’s breach, Plaintiff, the Class, and

Subclass are entitled to damages, to be decided by the trier of fact in this action, to include but

not be limited to reimbursement of certain tuition, fees, and other expenses that were collected

by Defendant for services that Defendant has failed to deliver. Defendant should return the pro-

rated portion of any Spring Semester 2020 tuition and fees for education services not provided

since Stevens shut down on March 11, 2020.

       63.      Defendant’s performance under the contract is not excused due to COVID-19.

Indeed, Defendant should have refunded the pro-rated portion of any education services not

provided. Even if performance was excused or impossible, Defendant would nevertheless be

required to return the funds received for services it did not provide.

       64.      Therefore, Defendant should return a pro-rata share of the tuition and fees paid by

Plaintiff and Class Members that relate to those in-person educational services that were not




                                                 18
Case 2:21-cv-01043-EP-MAH Document 1 Filed 01/22/21 Page 19 of 23 PageID: 19




provided after Stevens Institute of Technology shut down on or around March 11, 2020. In-

person educational services were not provided for approximately 50% of the Spring Semester

2020.

                                        COUNT II
                                    Unjust Enrichment
                  (On Behalf Of The Class And Subclass In The Alternative)

        65.    Plaintiff hereby incorporates by reference the allegations contained in all

preceding paragraphs of this complaint.

        66.    Plaintiff brings this claim individually and on behalf of the members of the Class

and Subclass against Defendant.

        67.    Plaintiff and members of the Class and Subclass conferred a benefit on Defendant

in the form of monies paid for Spring Semester 2020 tuition and other fees in exchange for

certain services and promises. Tuition for Spring Semester 2020 was intended to cover in-person

educational services from January through May 2020. In exchange for tuition monies paid, Class

members were entitled to in-person educational services through the end of the Spring Semester.

        68.    Defendant voluntarily accepted and retained this benefit by accepting payment.

        69.    Defendant has retained this benefit, even though Defendant has failed to provide

the education, experience, and services for which the tuition and fees were collected, making

Defendant’s retention unjust under the circumstances.

        70.    Accordingly, Defendant should return the pro-rated portion of any Spring

Semester 2020 tuition and fees for education services not provided since Stevens shut down on

March 11, 2020.

        71.    It would be unjust and inequitable for Defendant to retain the benefit conferred by

Plaintiff’s and Class Members’ overpayments.




                                                19
Case 2:21-cv-01043-EP-MAH Document 1 Filed 01/22/21 Page 20 of 23 PageID: 20




       72.     Defendant should be required to disgorge all profits resulting from such

overpayments and establishment of a constructive trust from which Plaintiff and Class Members

may seek restitution.

                                         COUNT III
                                         Conversion
                            (On Behalf Of The Class And Subclass)

       73.     Plaintiff hereby incorporates by reference the allegations contained in all

preceding paragraphs of this complaint.

       74.     Plaintiff brings this claim individually and on behalf of the members of the Class

and Subclass against Defendant.

       75.     Plaintiff and members of the Class and Subclass have an ownership right to the

in-person educational services they were supposed to be provided in exchange for their Spring

Semester 2020 tuition and fee payments to Defendant.

       76.     Defendant intentionally interfered with the rights of Plaintiff, the Class, and

Subclass when it moved all classes to an online format and discontinued in-person educational

services for which tuition and fees were intended to pay.

       77.     Plaintiff and members of the Class and Subclass demand the return of the pro-

rated portion of any Spring Semester 2020 tuition and fees for education services not provided

since Stevens shut down on March 11, 2020.

       78.     Defendant’s retention of the fees paid by Plaintiff and members of the Class and

Subclass without providing the educational services for which they paid, deprived Plaintiff, Class

and Subclass members of the benefits for which the tuition and fees paid.

       79.     This interference with the services for which Plaintiff and members of the Class

and Subclass paid damaged Plaintiff and Class members in that they paid tuition and fees for




                                                20
Case 2:21-cv-01043-EP-MAH Document 1 Filed 01/22/21 Page 21 of 23 PageID: 21




services that will not be provided.

       80.     Plaintiff, Class and Subclass members are entitled to the return of pro-rated

portion of any Spring Semester 2020 tuition and fees for education services not provided since

Stevens shut down on March 11, 2020.

                                             COUNT IV
                                      Money Had And Received
                                (On Behalf Of The Class And Subclass)

       81.     Plaintiff hereby incorporates by reference the allegations contained in all

preceding paragraphs of this complaint.

       82.     Plaintiff brings this claim individually and on behalf of the members of the Class

against Defendant.

       83.     Plaintiff and members of the Class paid monetary funds to Defendant for tuition

and fees for the Spring Semester 2020.

       84.     Defendant has retained the monies paid by Plaintiff and members of the Class for

the Spring Semester 2020 while not providing in-person educational services, activities,

opportunities, resources, and facilities for which those monies were paid.

       85.     Defendant is in possession of and holds money that belongs to Plaintiff and the

members of the Class in equity and good conscience.

       86.     Defendant has been unjustly enriched by its retention of the funds Plaintiff and

the members of the Class paid Defendant for tuition and fees, and it is unconscionable for

Defendant to retain funds to which it is not entitled.

       87.     Defendant’s unlawful retention of Plaintiff’s and Class Members’ funds has

damaged Plaintiff and the members of the Class.

       88.     Defendant owes Plaintiff and members of the Class for money had and received,




                                                 21
Case 2:21-cv-01043-EP-MAH Document 1 Filed 01/22/21 Page 22 of 23 PageID: 22




including, but not limited to, the amount of Plaintiff’s and Class Members’ pro-rated tuition and

fees for the Spring Semester 2020.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seeks

judgment against Defendant, as follows:

               (a)     For an order certifying the Class and Subclass under Rule 23 of the
                       Federal Rules of Civil Procedure and naming Plaintiff as representative of
                       the Class and Subclass and Plaintiff’s attorneys as Class Counsel to
                       represent the Class and Subclass;

               (b)     For an order finding in favor of Plaintiff and the Class and Subclass on all
                       counts asserted herein;

               (c)     For compensatory and punitive damages in amounts to be determined by
                       the Court and/or jury;

               (d)     For prejudgment interest on all amounts awarded;

               (e)     For an order of restitution and all other forms of equitable monetary relief;

               (f)     For injunctive relief as pleaded or as the Court may deem proper; and

               (g)     For an order awarding Plaintiff and the Class and Subclass their
                       reasonable attorneys’ fees and expenses and costs of suit.

                               DEMAND FOR TRIAL BY JURY

       Plaintiff demands a trial by jury of any and all issues in this action so triable of right.


Dated: January 22, 2021                        Respectfully submitted,

                                               BURSOR & FISHER, P.A.

                                               By:     /s/ Philip L. Fraietta
                                                          Philip L. Fraietta

                                               Philip L. Fraietta (118322014)
                                               Alec M. Leslie (pro hac vice app. forthcoming)
                                               888 Seventh Avenue
                                               New York, NY 10019



                                                 22
Case 2:21-cv-01043-EP-MAH Document 1 Filed 01/22/21 Page 23 of 23 PageID: 23




                                   Telephone: (646) 837-7150
                                   Facsimile: (212) 989-9163
                                   Email: pfraietta@bursor.com
                                          aleslie@bursor.com

                                   BURSOR & FISHER, P.A.
                                   Sarah N. Westcot (pro hac vice app. forthcoming)
                                   2665 S. Bayshore Drive, Suite 220
                                   Miami, FL 33133
                                   Telephone: (305) 330-5512
                                   Facsimile: (305) 676-9006
                                   Email: swestcot@bursor.com

                                   Attorneys for Plaintiff




                                     23
